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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

 ALTAGRACIA SALCEDO,                                         CIVIL ACTION
                                                             Case No. 2:24-cv-01141-
                                                             JLB-NPM
          Plaintiff,

 v.

 THE DISTRICT BOARD OF TRUSTEES
 SOUTHWESTERN STATE COLLEGE,
 FLORIDA,

          Defendant.


                             Uniform Case Management Report

        The goal of this case management report is to “secure the just, speedy, and
 inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
 3.02(a)(2), this case management report should be used in all civil cases except those
 described in Local Rule 3.02(d). Individual judges may have additional case
 management preferences that can be found under each judge’s name on the Court’s
 website, flmd.uscourts.gov/judges/all.


1. Date and Attendees


      The parties may conduct the planning conference “in person, by telephone, or by comparable
      means[.]” See Local Rule 3.02(a)(1).



      The parties conducted the planning conference on 2/2/25 and 2/3/2025. Kevin
      C. Kostelnik and John F. Potanovic conferred.
2. Deadlines and Dates


      The parties request these deadlines and dates:

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    Action or Event                                                                Date

    Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                                   2/27/2025
    P. 26(a)(1).

    Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                   3/14/2025
    or amend the pleadings, see Fed. R. Civ. P. 15(a).

    Deadline for serving expert disclosures under Rule 26(a)(2),
    including any report required by Rule 26(a)(2)(B).                 Plaintiff   12/29/2025
                                                                    Defendant      1/30/2026
                                                                       Rebuttal    2/27/2026
    Deadline for completing discovery and filing any motion to compel
                                                                                   3/27/2026
    discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

    Deadline for moving for class certification, if applicable. See Fed. R.           N/A
    Civ. P. 23(c).

    Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                    5/5/2026
    P. 56. (Must be at least five months before requested trial date.)

    Deadline for participating in mediation. See Local Rules, ch. 4.
    Denise Wheeler Wright
                                                                                   4/10/2026
    4600 Summerlin Road, Suite C-2517
    Fort Myers, FL 33919-3005
    239-312-3258
    Date of the final pretrial meeting. See Local Rule 3.06(a).                    8/28/2026

    Deadline for filing the joint final pretrial statement, any motion in
    limine, proposed jury instructions, and verdict form. See Local Rule           9/11/2026
    3.06(b). (Must be at least seven days before the final pretrial conference.)

    Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                   9/25/2026
    Rule 3.06(b).

    Month and year of the trial term.                                              10/5/2026


   The trial will last approximately 3 days and be

   ☒ jury.


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    ☐ non-jury.


3. Description of the Action


        Plaintiff brought forth this action claiming race discrimination, age
 discrimination, and retaliation under Title VII and the Florida Civil Rights Act.
 Defendant denies Plaintiff’s claims in their entirety, and asserts that it had legitimate,
 non-discriminatory and non-retaliatory reasons for all actions it took with respect to
 Plaintiff’s employment. At this juncture, this appears to be a typical single-plaintiff
 employment claim that does not need to be designated as complex.


4. Disclosure Statement


    ☒ Each party has filed a disclosure statement using the required form.


5. Related Action


    ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
    notify the judge of a related action pending in the Middle District or elsewhere by
    filing a “Notice of a Related Action.” No notice need be filed if there are no related
    actions as defined by the rule.


6. Consent to a Magistrate Judge


    “A United States magistrate judge in the Middle District can exercise the maximum authority and
    perform any duty permitted by the Constitution and other laws of the United States.” Local Rule
    1.02(a). With the parties’ consent, a district judge can refer any civil matter to a magistrate judge
    for any or all proceedings, including a non-jury or jury trial. 28 U.S.C. § 636(c).


    The Court asks the parties and counsel to consider the benefits to the parties and the Court of
    consenting to proceed before a magistrate judge. Consent can provide the parties certainty and
    flexibility in scheduling. Consent is voluntary, and a party for any reason can decide not to consent
    and continue before the district judge without adverse consequences. See Fed. R. Civ. P. 73(b)(2).



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   ☐ The parties do consent and file with this case management report a completed
   Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
   Judge,” which is available on the Court’s website under “Forms.”
   ☒ The parties do not consent.


7. Preliminary Pretrial Conference


   ☐ The parties do not request a preliminary pretrial conference before the Court
   enters a scheduling order.
   ☒ The parties do request a preliminary pretrial conference, and the parties want to
   discuss – The Court has scheduled a pre-scheduling order conference for 2/13/25
   at 10:30 a.m.


8. Discovery Practice


   The parties should read the Middle District Discovery Handbook, available on the Court’s website
   at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice in this District.



   ☒ The parties confirm they will comply with their duty to confer with the opposing
   party in a good faith effort to resolve any discovery dispute before filing a motion.
   See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.


9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):


   A.   The parties agree to the timing, form, or requirement for disclosures under
        Rule 26(a):

         ☒ Yes.
         ☐ No; instead, the parties agree to these changes: enter changes.



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   B.   Discovery may be needed on these subjects: liability for alleged
        discrimination and/or retaliation, Plaintiff’s employment history and
        performance, comparator evidence, mitigation, Defendant’s alleged
        legitimate business reasons for the Plaintiff’s alleged damages, and alleged
        defenses.


   C.   Discovery should be conducted in phases:


         ☒ No.

         ☐ Yes; describe the suggested phases.


   D. Are there issues about disclosure, discovery, or preservation of
      electronically stored information?


         ☒ No.

         ☐ Yes; describe the issue(s).


   E.   ☒ The parties have considered privilege and work-product issues,
        including whether to ask the Court to include any agreement in an order
        under Federal Rule of Evidence 502(d).


   F.   The parties stipulate to changes to the limitations on discovery imposed
        under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
        limitations:


         ☒ No.

         ☐ Yes; describe the stipulation.


10. Request for Special Handling


   ☒ The parties do not request special handling.



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    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
    requested special handling.


11. Certification of familiarity with the Local Rules

    ☒ The parties certify that they have read and are familiar with the Court’s Local
    Rules.

12. Signatures



 /s/ Kevin C. Kostelnik                     /s/ John F. Potanovic
 Kevin C. Kostelnik, Esq.                   John F. Potanovic, Esq.
 Florida Bar No. 0118763                    Florida Bar No. 0773360
 CRUZ LAW FIRM, P.A.                        Katherine E. Cook, Esq.
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                                            Lead Counsel for Defendant




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